 Case 17-20012          Doc 122     Filed 05/25/21 Entered 05/25/21 16:27:00             Desc Main
                                     Document     Page 1 of 3



                               UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MAINE



 In re:
                                                     Chapter 13
 Rae Jean Morin,                                     Case No. 17-20012
 & James D. Morin, Jr.,

                              Debtors




    ORDER GRANTING MOTION IN PART AND SETTING CONTINUED HEARING

          Rae Jean Morin and James D. Morin, Jr., the debtors in this joint case, were married

when they filed their petition in 2017. They have recently informed the Court of their intention

to seek a divorce under Maine law. To that end, they have asked for relief from the automatic

stay to allow their “divorce to continue in the Androscoggin County Maine District Court,

subject to this Court’s continuing jurisdiction over [their] assets and creditors’ claims.” [Dkt.

No. 114, p. 2.]

          As a general matter, the automatic stay does not prohibit the commencement or

continuation of a divorce proceeding. Relief from stay is not necessary for actions that are not

subject to the stay. Exceptions to the automatic stay are set forth in section 362(b) and, as

relevant here, that subsection provides that the automatic stay does not bar:

          the commencement or continuation of a civil action or proceeding—
               (i) for the establishment of paternity;
               (ii) for the establishment or modification of an order for domestic support
                     obligations;
               (iii) concerning child custody or visitation;
               (iv) for the dissolution of a marriage, except to the extent that such
                     proceeding seeks to determine the division of property that is property of
                     the estate; or
               (v) regarding domestic violence[.]
 Case 17-20012        Doc 122     Filed 05/25/21 Entered 05/25/21 16:27:00             Desc Main
                                   Document     Page 2 of 3



11 U.S.C. § 362(b)(2)(A) (emphasis added). So, while many aspects of a divorce proceeding

under Maine law are not stayed by operation of section 362, some aspects are stayed.

Specifically, a divorce proceeding is subject to the automatic stay to the extent that the

proceeding seeks to divide the parties’ marital property that is included in the bankruptcy estate.

See 11 U.S.C. § 362(b)(2)(A)(iv).

       There is tension between the Bankruptcy Code’s genuflection to state law in the realm of

domestic relations and the Code’s protection of property of the bankruptcy estate (for the benefit

of the debtor and her creditors). An unbending rule that prevents the state court from doing its

work in a divorce proceeding (including dividing marital property under 19-A M.R.S.A. § 953)

goes too far one way. And a reflexive grant of relief from the automatic stay in every single

instance where debtors in a joint case want to dissolve their marriage and divide their property—

but do not yet know the terms of the property division—goes too far the other way.

       The Debtors’ motion is hereby granted in part. Relief from the automatic stay is granted

for the Debtors to commence or continue their divorce proceeding, including to the extent that

the proceeding will include a determination of the division of property that is property of the

estate, whether such determination is made by the state court, on the basis of the parties’

agreement, or otherwise. No such determination will be effective, however, nor may such

determination be implemented by the Debtors or anyone else, until further relief from stay is

granted, after notice and opportunity for hearing in this chapter 13 case.

       The Court will conduct a continued hearing on the Motion for Relief from Stay [Dkt. No.

114] on June 10, 2021 at 10:00 a.m. The hearing will be held at the U.S. Bankruptcy Court, 202

Harlow Street, Bangor, ME. If you intend to participate in the hearing via telephone you are
 Case 17-20012        Doc 122    Filed 05/25/21 Entered 05/25/21 16:27:00            Desc Main
                                  Document     Page 3 of 3



required to register with CourtCall at 1-866-582-6878, no later than 3:00 p.m. the last business

day prior to the hearing.




Dated: May 25, 2021
                                             Michael A. Fagone
                                             United States Bankruptcy Judge
                                             District of Maine
